Case 4:24-cv-02508   Document 508      Filed on 01/31/25 in TXSD     Page 1 of 3
                                                                         United States District Court
                                                                           Southern District of Texas

                                                                              ENTERED
                                                                            January 31, 2025
                                                                           Nathan Ochsner, Clerk

                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

          FEDERAL TRADE           § CIVIL ACTION NO
          COMMISSION,             § 4:24-cv-02508
                       Plaintiff, §
                                  §
                                  §
               vs.                § JUDGE CHARLES ESKRIDGE
                                  §
                                  §
          TEMPUR SEALY            §
          INTERNATIONAL, INC, §
          and MATTRESS FIRM       §
          GROUP INC,              §
                    Defendants. §

                                   ORDER

             An Opinion and Order has been entered under seal this
         day denying the motion by the Federal Trade Commission
         for a preliminary injunction that would halt the closing of
         the proposed acquisition of Mattress Firm Group Inc by
         Tempur Sealy International, Inc, pending completion of its
         own administrative proceeding. See Dkt 507; see Dkt
         143 (FTC motion).
             The Opinion and Order was entered under seal because
         a large array of confidential and proprietary information
         was submitted during these proceedings as derived from
         Tempur Sealy, Mattress Firm, and a number of other
         participants in the mattress industry. It is anticipated that
         a redacted version will be made available on the public
         record on February 4, 2025.
             The parties are ORDERED to confer and submit proposed
         redactions to the Opinion and Order suitable for filing on
         the public record. The redactions must be provided by
         3:00 pm CST on February 3, 2025, and limited to only those
Case 4:24-cv-02508   Document 508      Filed on 01/31/25 in TXSD     Page 2 of 3




         genuinely necessary to preserve actual confidential and
         proprietary information.
             Also pending is a motion by the FTC to extend the
         temporary restraining order previously entered in this
         action by seven days from today’s date. Dkt 503.
             The temporary restraining order states:
                  Provided that the schedule ultimately
                  entered by this Court accounts for
                  Defendants’ need for a decision on the
                  FTC’s motion for a preliminary injunction
                  before the Termination Date of the
                  acquisition agreement and other related
                  scheduling issues, Defendants will agree to
                  extend the date before which they will not
                  close the Proposed Acquisition until after
                  the expected date by which this Court will
                  rule on the preliminary injunction.
         Dkt 42 (emphasis added).
             The parties have all along recognized February 9, 2025,
         as the termination date for the proposed merger. Indeed,
         that is why this Court committed to them to have this
         ruling entered this day, to allow for the potential to seek
         effective review by the Fifth Circuit.
             The FTC’s motion does nothing more than request that
         the TRO remain in place for that brief duration, so that it
         may seek such appellate relief, if determined advisable.
         Dkt 503 at 2. Defendants oppose this, arguing that they are
         entitled to close immediately upon entry of the Opinion and
         Order. Dkt 504 at 3, 6. Such contention is rejected.
             As noted above, the TRO was prepared in mind of the
         termination date, with agreement that Tempur Sealy and
         Mattress Firm won’t close the acquisition “until after” the
         date of this Court’s order. Nothing suggests such language
         means that they must close immediately after such order
         or with undue haste. Indeed, their position does little other
         than ensure that an additional emergency motion will be
         placed before the Fifth Circuit in a burdensome way. See
         FTC v Weyerhaeuser Co, 665 F2d 1072, 1076 (DC Cir 1981):




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Case 4:24-cv-02508    Document 508      Filed on 01/31/25 in TXSD      Page 3 of 3




         “It was not consistent with the fair, effective admin-
         istration of justice for the district judge to deny to a party,
         situated as was the FTC in this case, even a brief holding
         order affording time to apply to this court for provisional
         relief.”
              Rule 65(b)(2) of the Federal Rules of Civil Procedure
         states that a temporary restraining order “expires at the
         time after entry—not to exceed 14 days—that the court
         sets, unless before that time the court, for good cause,
         extends it for a like period or the adverse party consents to
         a longer extension.” FRCP 65(b)(2). Such relief in these
         circumstances isn’t unusual. For example, see FTC v Meta
         Platforms Inc, 654 F Supp 3d 892 (ND Cal 2023), ECF No.
         543 (order extending TRO).
              The motion by the Federal Trade Commission for
         extension by seven days of the temporary restraining order
         in place in this action is GRANTED. Dkt 503.
              It is ORDERED that the temporary restraining order in
         this action is extended to allow the potential for expedited
         relief from the Fifth Circuit prior to the termination date,
         if desired.
              It is further ORDERED that Defendants Tempur Sealy
         International, Inc, and Mattress Firm Group Inc shall not
         close their proposed acquisition with an effective date prior
         to 3:00 pm CST on February 7, 2025, so that the Fifth
         Circuit may have a reasonable opportunity to consider any
         papers put before it by the Federal Trade Commission.
              SO ORDERED.
             Signed on January 31, 2025, at Houston, Texas.



                                    __________________________
                                    Hon. Charles Eskridge
                                    United States District Judge




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